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                      Exhibit 36
Storm brews on Yale campus following departure of ex-basketball captain... https://www.nhregister.com/colleges/article/Storm-brews-on-Yale-campu...
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                  https://www.nhregister.com/colleges/article/Storm-brews-on-Yale-campus-following-departure-
                  of-11338640.php
                 Storm brews on Yale campus following departure of
                 ex-basketball captain
                 Demonstrations follow departure of basketball player for undisclosed reasons
                 Published 10:44 pm EST, Thursday, March 3, 2016




                 Yale basketball players wearing shirts in support of their teammate Jack Montague.




1 of 4                                                                                                                         7/10/2018, 4:04 PM
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2 of 4                                                                                                                         7/10/2018, 4:04 PM
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Storm brews on Yale campus following departure of ex-basketball captain... https://www.nhregister.com/colleges/article/Storm-brews-on-Yale-campu...
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